       3:20-cv-02524-JMC          Date Filed 06/21/22    Entry Number 19        Page 1 of 2




                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

  BRUCE E. KATZ, M.D., P.C., d/b/a JUVA
  SKIN AND LASER CENTER, individually                 Case No. 3:20-cv-02524-JMC
  and on behalf of all others similarly situated,

                    Plaintiff,

  v.

  CAPITAL MEDICAL EDUCATION, LLC,
  a South Carolina limited liability company,

                    Defendant.


                             NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that Plaintiff dismisses this lawsuit against and Defendant

without prejudice.

       Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

       (a) Voluntary Dismissal.

       (1) By the Plaintiff.

       (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2 and 66 and any

       applicable federal statute, the plaintiff may dismiss an action without a court order

       by filing:

            (i) a notice of dismissal before the opposing party serves either an answer or a

            motion for summary judgment; or

            (ii) a stipulation of dismissal signed by all parties who have appeared.

            (B) Effect. Unless the notice or stipulation states otherwise, the dismissal is

            without prejudice. But if the plaintiff previously dismissed any federal- or

            state-court action based on or including the same claim, a notice of dismissal
     3:20-cv-02524-JMC           Date Filed 06/21/22    Entry Number 19      Page 2 of 2




           operates as an adjudication on the merits.

     In this case, Defendant has neither answered Plaintiff’s Complaint nor served a motion for

summary judgment. In addition, no class has been certified in this matter so Rule 23’s

exceptions do not apply. Likewise, this case does not involve any Receiver so as to implicate

Rule 66.

     Accordingly, Plaintiff hereby dismisses these proceedings in accordance with Rule

41(a)(1)(i) without prejudice.




Respectfully Submitted,


                                      BRUCE E. KATZ, M.D., P.C., d/b/a JUVA SKIN AND
                                      LASER CENTER, individually and on behalf of class of
                                      similarly situated individuals

Dated: June 21, 2022               By: ___/s/ Margaret A. Collins
                                                    One of Plaintiff’s Attorneys

                                      Margaret A. Collins, Esquire,
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